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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  NEXSTEP, INC.,                )
                                )
           Plaintiff,           )
                                )
       v.                       )                   C.A. No. 19-1031 (RGA) (SRF)
                                )
  COMCAST CABLE COMMUNICATIONS, )
  LLC,                          )
                                )
           Defendant.           )

                                    NOTICE OF SERVICE

         The undersigned hereby certifies that copies of Defendant Comcast’s First Supplemental

  Invalidity Contentions Pursuant to Paragraph 4(d) of the District of Delaware Default Standard

  for Discovery were caused to be served on October 16, 2020, upon the following in the manner

  indicated:

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  October 16, 2020




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 16, 2020, I caused the foregoing to be electronically filed

  with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

  registered participants.

         I further certify that I caused copies of the foregoing document to be served on October

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